Case 6:15-cv-01098-JA-DCI Document 22 Filed 07/21/15 Page 1 of 1 PagelD 174

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

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ATTORNEY CERTIFICATION

This attorney certification form and the information contained herein neither replaces nor supplements the filing and service of
pleadings, motions, or other papers as required by law, rule, or court order. This form is required for use by the Clerk of Court in
furtherance of the Guidelines and Plan Administration of Non-Appropriated Funds as adopted by this Court and this form will not
be handled as a pleading, motion, or other paper filed in a case before the Court.

David Williamson, Chase Hansel,

Keith Becher, Ronald Gordon, et al
Plaintiff{s)/Petitioner(s),

CASE NO. 6:15-cv-1098-Orl-28 DAB

Vv.

Brevard County

Defendant(s)/Respondent(s}

I, Rebecca S. Markert (pro hac vice counsel), hereby submit this attorney certification form

David Williamson, Chase Hansel, Keith Becher, et al

to the Court on behalf of (p arty represented).

ATTORNEY INFORMATION

Firm Name: Freedom From Religion Foundation

Address: PO Box 750

City, Madison state: “I zip _ £3701
FirmvBusiness Phone: 08. 256 8900 Alternate Phone: 808. 230. 8447
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E-mail Address: (Markert@ffrf.org

ATTORNEY CERTIFICATION
I certify that:
1. To my knowledge there are NO disciplinary or suspension proceedings pending against me in any Court of the United

States or of any State, Territory, or Possession of the United States. NOTE: If proceedings ARE pending at this time,
please explain at the bottom or back of this form.

2. I] am not a resident of the State of Florida.

3. 1 do not make frequent or regular appearances in separate cases to such a degree as to constitute the maintenance of a
regular practice of law in the State of Florida.

4. Within the twelve (12) month period preceding the date of this attorney certification, I have read the most current

version of the Local Rules of the United States District Court for the Middle District of Florida.

I declare under penalty of perjury that the foregoing is true and correct.

HS Wit Hislis

ay *

Signature Date

Revised 01/01/15 Page | of 2
